 

 

 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 1 of 71

Page 2 of 2

Notwithstanding her story that she had sought police intervention earlier that day, I
insisted that she call 911 again and report the chain of events. She complied.

Eventually another patrol car arrived in front of our building. Two police officers, whom
Kelly has since reminded me were named P.O. Longo (shield # 31565) and P.O. Walker,
related to us that they were instructed by the station’s desk sergeant not to take Kelly’s
reports. P.O. Walker stated that the District Attorney’s office had instructed the precinct
not to respond to any of Kelly’s calls. I recall being genuinely shocked and outraged to
hear this instruction, and further surprised that a young woman, like P.O. Walker, would
be tasked by her superiors with being complicit in a practices that lefi a domestic
violence victim without recourse for protection. At this juncture, | introduced myself as
an officer of the court and member of the NY State Bar, and reminded the officers of
their legal and ethical responsibilities to provide complainants with police services. I
recall that the officers responded more favorably to me than they did to Keily, but I could.
not discern whether this was the case because I notified them that I am an attorney, or
because I'm just someone other than Kelly Price. P.O. Walker stated that she would take
basic information about the incident, but she believed that once the precinct began to
process the event, it most likely would be “circular-filed” in the trash bin. P,O. Longo
gave Kelly an incident ID slip and told her to follow up with the precinct in a few days,
then both officers left. I was.then, and remain, dumbfounded by what I witnessed
transpire that evening.

As a single young woman living and working in NYC, it unsettled.me that the police
could be so cavalier about Kelly Price’s safety. Kelly has since told:me that the
complaint number she was given months later when, she inquired as to why no one had
ever followed-up with her about the incident was 2012-28-005194. Kelly also informs
me that the detective squad at the 28th Precinct closed her incident report without
contacting her either to identify the perpetrator of the attack or review the: emergency -

. room reports or follow-on orthopedic assessments describing Pi Price’s s injuries resulting
from the attack.

Please feel free to contact me concerning these events. -

Sincerely,

  

Elizabeth Walker

 

 
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Exhibit J

 
 

 

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Marilyn Benetatos

231 West 120" Street
N.Y. N.Y. 10027

(212) 663-5372 (home)
(347) 203-2623 (cell)

To whom it may concern:

I was a neighbor of Kelly Price when she lived at 237 West 120" Street. I am
a manager in Con Edison where I have worked for over 26 years. I have
approximately 70 employees in my chain of command. I lived on the street
for over 12 years, walk my dog every day and know and get along with my
neighbors.

In the spring and summer of 2011 and later in 2012, there were some
problems on the street related to young teenagers from other blocks hanging

out on 120" street vandalizing cars, the school yard, fighting in the streets
and being somewhat threatening to others. As a result, a group of us from the
block attended monthly meetings at the police station to make our issues
known there and to get further on-going support from the police and the
community officer. The police were very helpful, offered a lot of support and
worked with us and the principal at the local school and facilitated the
problem going away.

After the formal meeting, the head of the station, Captain Rodney Harrison,
invited attendees to speak with him personally about issues of concern. |
went up to him after one of these meetings and asked him why more was not
being done to help Kelly Price, who everyone knew was being battered. I
was concerned because the young teenagers seemed to be learning the wrong
thing from the situation. At that time, Captain Harrison told me that he had
never seen anything like it, but he/the police were told to not respond to Kelly
Price without the direct instruction of the District Attorney’s office. He said
it was strange but indicated that, to some extent, his hands were tied.

I found his response really surprising, so it stood out in my mind. I don’t
remember when or in what circumstances I came to be telling Kelly Price the
 

 

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details of my interaction with Captain Harrison.
Please feel free to contact me, should J be able to assist you further.

Sincerely,

 
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Exhibit K

 
 

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KP Document 1653, Filed O: 05/09/16 Page 6 of 71 Page 1 of 4

N.Y. / REGION

In = imey Trial, a Query: What,
Exactly, Is a Gang?

By JOHN ELIGON OCT. 11, 2011

From a telephone on Rikers Island, an inmate barked out his orders to a man in

Harlem, prefacing them with an explanation.

“Yo, there’s money out there right now,” the inmate, Jaquan Layne, said. “Go

outside.”

The man on the other end of the line, Jeffrey Brown, turned to the others inside
the Harlem apartment and echoed Mr. Layne’s orders: “He said there’s money out
there right now. Go to the block.”

There were other directives: Mr. Brown should collect some money from a
woman named Gloria, and if she asked any questions, she should be told that Mr.
Brown was “taking care of this now” because Mr. Layne was locked up. Another man
in the apartment, Habiyb Mohammed, was asked to monitor the others because they

were “new at what they're doing right now, so, like, keep them on point.”

This recorded phone call and dozens of others between Mr. Layne and his
friends form the central issue in a trial in Manhattan that might at first seem simple:

What is a gang?

To Manhattan prosecutors, a gang is a structured criminal organization, and Mr.
Layne’s worked together as a drug-selling enterprise that defended its turf, a block of
137th Street, with violence.

http://www.nytimes.com/201 1/10/12/nyregion/harlem-drug-conspiracy-case-is-heading-to-jury.htm... 5/9/2016

 

 

 
 

 

Harlem Drug COHBHFatyCasY Retain Pho sag HE Ne en York Wag Ge/Os/16 Page 7 of 71 Page 2 of 4

But to the lawyers for Mr. Layne and four co-defendants, the group, while
perhaps selling drugs, was anything but a structured trafficking enterprise. |

The trial began three weeks ago and is expected to go to the jury on Wednesday.

The defendants, portrayed by prosecutors as gang leaders, are Mr. Layne, 21; his
brother Jahlyl, 18; Mr. Brown, 20, who is.a cousin; Mr. Mohammed, 31; and
Jonathan Hernandez, 19. Jahlyl Layne is charged with second-degree conspiracy.
The other four are charged with first-degree conspiracy, which carries a maximum
sentence of life in prison.

The prosecutors, who must prove that the defendants agreed to commit a crime
and took steps to do so, are using the recorded telephone conversations to illustrate
what they say is the behind-the-scenes planning and structuring of a drug

organization.

Conspiracy charges are generally difficult to prove, legal experts said, but they
offer prosecutors a great reward: they can bring down multiple defendants at once

and wipe out entire pockets of crime.

Karen Friedman Agnifilo, chief of the trial division in the Manhattan district
attorney’s office, speaking generally about gangs and not about the case currently on
trial, said, “They might not be as structured or organized, but they’re not less

violent.” She added, “We're focusing on violence.”

She said Cyrus R. Vance Jr., the Manhattan district attorney, emphasized a
holistic approach in which the office not only prosecuted violent groups, but also
promoted community-building activities to help keep young people away from
crime.

Law enforcement authorities said that modern-day gangs in New York City
shared several characteristics: members tend to be young, under 20; they are
territorial, attaching themselves to a specific block or housing project; they are well
armed and instantly violent. Some gangs simply exist to fight other gangs, while

others are centered on crimes like gun trafficking.

http:/Awww.nytimes.com/201 1/1 0/12/nyregion/harlem-drug-conspiracy-case-is-heading-to-jury.htm... 5/9/2016
 

 

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Harlem Drug C&S ase Ritéading to Tory The New York Hiengs g Page 3 of 4

In the 137th Street case, prosecutors said, Jaquan Layne was the ringleader of a
gang tied together by a drug operation. But where prosecutors hear strategy and
planning in telephone conversations, Mr. Layne’s lawyer, Franklin Rothman, hears a
young man who likes to boast.

“They have nothing on Jaquan Layne other than his big, stupid mouth that got
him in trouble,” Mr. Rothman said in his opening statement. “He’s not part of a
conspiracy. He’s not part of this gang. He’s a guy from the block.”

In one call, Jahlyl Layne seemed intent on collecting on a debt, even though he

was in jail.

“You know them fiends still owe me that money, too,” he told the man on the
other end of the phone. “Go get that money, B.”

“I’m gonna go knock on that door for you,” the man responded. “I got you.”

Prosecutors said some of the calls also described the group’s violence and the
passing of weapons. Pierce Gross, who is not on trial but was one of the people
charged with the 137th Street group, told someone in a recorded call that “Jon
snapped,” meaning he had fired a gun.

Mr. Gross was speaking of an episode, prosecutors said, in which Mr.
Hernandez fired several shots at someone, leading to an attempted-murder charge

being prosecuted in the trial.

Some of the phone calls displayed internal strife, prosecutors said. In one call,
Jahlyl Layne told Louis Williams, who prosecutors said was in the gang, that
someone was “gonna kill” him and others in the group who were still on the streets
because, he said, using a term for money, they “ain’t setting no chicken out” to those

who were in jail. They were “due a spanking,” Mr. Layne said.
Mr. Williams called Mr. Layne’s bluff, saying they were not “gonna kill nobody.”

In another call, Jaquan Layne appeared to complain that Mr. Brown and
another man were still selling drugs but not putting any of the money in his
commissary account at Rikers. They “ain’t sending me no paper,” Mr. Layne told

http://www.nytimes.com/201] 1/10/12/nyregion/harlem-drug-conspiracy-case-is-heading-to-jury.htm... 5/9/2016
 

 

Harlem Drug CHASER EY RAGE fo TR PRE NAP ¥ ork HAG Q5/09/16 Page 9 of 71 Page 4 of 4

Afrika Owes, a former private-school student who.was also charged in the case but

pleaded guilty to lesser charges.
“Who they selling it for?” Ms. Owes asked.
“They self,” Mr. Layne responded.

Mr. Rothman, his lawyer, has said that that answer indicated an every-man-for-
himself attitude, rather than some structured drug organization with people working
together.

Yet in another call, Mr. Layne appeared to be instructing Ms. Owes on how to
take care of herself. After she explained that she was carrying guns, Mr. Layne told
her that if things got crazy, she should use them — “let it go, let it go.”

“T got you,” Ms. Owes responded.

“Make sure,” Mr. Layne said, “head shots only.”

A version of this article appears in print on Gctober 12, 2017, on page A21 of the New York edition with
the headline: In Conspiracy Trial, a Query: What, Exactly, Is a Gang’.

 

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Exhibit L

 
 

         

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Exhibit M

 

 
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Mania Strohbehn
Assistant District Attorney, Manhattan District Attorney's Office
Location
New York, New York (Greater New York City Area)
Industry
Law Practice
Maria Strohbehin's Overview
Current
* Assistant District Attorney at Manhattan District Attorney's Office
Past
* Law Clerk at U.S. Department of Justice, U.S. Attorney's Office, District of Maryland
* Intern at State Attomey’s Office, Anne Arundel County
* Law Clerk at National District Attorney's Association’ American Prosecutor's Research Institute
see all...
Education
* The George Washington University Law School
+ University of Maryland Baltimore County
Connections
77 connections
Maria Strohbehn's Experience
Assistant District Attorney
Manhattan District Attorney's Office
Law Practice industry
September 2008 — Present (2 years 11 months}
' Research and write various pre-trial and post-conviction motions, including motions in opposition of
dismissal], motions in opposition of vacating judgment, and motions for protective order
- Write search warrants including residences, computers, cellular telephones, and other mobile technology
- Present cases to the grand jury 10 Manhattan, from complex identity theft cases to domestic violence
assaults
‘Investigate and prosecute long-term employee fraud
- Serve as First Chair on bench and jury trials
Organize trial] strategies by reviewing evidence and developing themes
- Collaborate with famrly lawyers in domestic violence-related custody and divorce issues im the
Integrated Domestic Violence Part of the New York County Supreme Court
Volunteer, such as a presentation to adolescents in upper-Manhattan on various aspects of the criminal
law and law enforcement issues in New York, including dating violence:
- Attend continuing legal education seminars including a lecture on various forms of financial evidence,
and its collection
- Write complaints to commence prosecution on the basis of a thorough review of evidence in shifts,
including shifts into the early moming
- Balance a caseload of about three-hundred active cases with an aggressive court schedule: Chosen to

begin working on a bureau based project targeting gang-related violent crime in the 28th
precinct in 2011

 
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Exhibit N

 
 

 

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12/20/10

9:32 PM

1/2 Chalupa u fucking with this dude: but you on my back about girls. trying to get me
locked up for no reason. When | get locked up I’m showing and telling

2/2 everything. And calling warren once | get locked up.

9:46 PM: | will turn your life upside down one I’m in Jail.

10:02 pm: Yea if you say so Hoe: Everybody is going to know

10:25 pm: so they will love all the great things | got to show them

10:31 pm: its your word against mine let’s play | got pi and everything else. Daddy and
mommy and big bro will love my info. And | saw your speed dial u got two guys on
speed dial ur sad broke anda hoe. ur a loser

10:33 pm: warren rob warren rob warren rob they going to love me

12/21/10

6:37 am: lets have make up sex my dick is rock hard

(12/21 time unidentified sometime between 6:37 and 10:17 am)

[TEXT BENEATH NAKED PHOTO OF ME}

U see that window that’s your house. Just leave me alone please | don't want to be with
someone that wants to get me locked up. Plus Hoeing

(12/21 time unidentified sometime between 6:37 and 10:17 am)

[TEXT BENEATH NAKED PHOTOs OF ME]

Two taps | can see every word even your number and | got more. Just leave me alone
and stop lying to the cops. I’m not going to fuck you intill | get lock up for no reason

10:17 am
| have Keys

10:19 am: U think I’m playing. Play with the cops and u will never hoe or work again
10:21 a.m: Your is too

10:25 a.m. thanks more for the cops when you get me locked up

 

 
 

 

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10:28 Not when they see what | got and the people who will come downtown to help me
10:32 that paper will

12/22:

9:02 a.m.: Did you pay my car note

9:20 am: | was making a lot of money when | had my car. How u think | saved your ass
so many times. When u had no money. | would love it if u can pay my car note like you
said u would but if not we can go 310 310 = 620 or | can pay it by myself just the the
info. please | need that car on the streets. | don’t have to get nj plate it koool. | will wait
intill the weeks are up. ate the gym I’m taking a cab to my lot and going to the dmv to
take back my plates

RESPONSE 9:30 am: You ignore every holiday you spend hem with someone else
including my birthday | can’t wait till your car is gone

9:28 am: when they take my car I’m telling every thing that on niya
9:30 am: once that go u know what's going to happen

9:30 am RESPONSE: | am not talking to you until | get my phones and i'm warning you
stay away from the DMV u have no right to conduct my business

10:07 am: So get my car took of u want. Just know what’s happens after. no order ean
stop me from talking.

RESPONSE: 10:10 am! hate you for ruining me but | will survive you been doing me
filthy for too long

10:16 am: Hell no tell me how? other way around. Ruining you how? Ur selfish an iu
fuck me with the cops or my car u will not survive because I’m going to really ruining u
like u keep trying to do to me. But I’m going to OVER DOSE ON YOU. So give me the
info or let’s go half or pay the note. but that car is not going no where.

10:22 am: | will never fuck you. But u fuck me so many times. So |’m not letting u get
away no more. You know right from wrong so u fuck me I’m going hard. Please | love
you so don’t make me do this
Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 17 of 71

Exhibit 0

 
 

 

  
   

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Case 1

 

 
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Exhibit P

 
 

 

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Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 22 of 71

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Fri, 22 Apr 11 1450 Page 3 of 8
Chart Review Print

Metropolitan Hospital Center

 

Location Patient Name Patient Number Visit Number Age Sex
DIS-Hd6 Price, Cathleen 1674607 1674607-4 40Y

Attending Physician
Meletiche, Carlos M, MD

ED Adult RN Initial Note -- cont'd

Braden Scale : Score: 22 Scale: no risk Sensory Perception: responds to
verbal commands,has no sensory deficits Moisture: skin
is usually dry Activity: walks frequently during
waking hours Mobility: makes position changes without
assistance Nutrition: eats over half most meals or on
tube feeding or TPN regimen which probably meets most
of nutritional needs Friction/Shear: moves in bed and
in chair independently.

 

Skin Lesions?: yes
Lesion Detail: Lesions: laceration, hematoma Location: right.posterior
thigh, facial
Lesions: laceration Location: right thigh, left buttocks,.

: face
Photo : not applicable
problem List:
Diagnosis — =
Working. Diag:
Resulted by , Lopez,Michelle, RN (SOF)

Ordering MD / oo: (HSOF)

 

 
 

 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 23 of 71

 

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- Case 1:15-cv-05871-KPF Document 16-3 Filed et hx 24 of 71
Wala ow rp 3
Fri, 22 Apr 11 1450 | Page 4 of 8
Chart Review Print
Metropolitan Hospital Center

Location Patient Name Patient Number Visit Number Age Sex
DIS-Hda6 Price, Cathleen 1674607 1674607-4 40% F

Attending Physician
Meletiche,Carlos M, MD

 

MDInitNote DellaFavaA
Event Time: Thu, 11 Nov 10 0336 Status: complete

Thu, 11 Nov 10 O606 Documented by Carlos M Meletiche, MD

qT 5 97.9 B (36.6 C}

P : 84 bpm

BP : 127/77

R : 198

Pain ; yes

Pt Walked Out? : no

Time Pt Seen : l1INev2010 0326

Visit Provider : Albert David Della Fava, MD

Attending : Carlos M.Meletiche, MD

Communication + Direct Cotmunication. in Patients's Primary Requested
- Language ,

Chief Complaints + Assault Sustain 3 laceration to Rt posterolat thigh and
' facial hematoma

TB/Pneumonia. : Fever: no Cough: no Night Sweats: no Weight loss: no
; Shortness of Breath: no
Assessment — » ve worl, mild distress however patient calmed during exam,

‘no respiratory distress or SOB, abrasion/bruise to right i

infraorbit, no orbital tenderness EOMI, erythema to
lateral neck and throat, 5 cm laceration to left buttock,
3.2.5 em lacerations to right hip, no boney deformates or
joint complaints

Plan : clinical work up as ordered
‘Diagnosis : Assault by other. specified means
E&M Level : mon critical visit

Non-Critical Vst ; 99283 expanded problem focused hx, exam and mod complex MDM
Attend'!g Addendum : Gen Supv

DAWN? > no
Comment : See paper chart
Diagnosis ; H968.8 Assault by other specified means

Principal Pr: E968.8 Assault by other specified means

 

 

 
 

 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 25 of 71
Fealat oye 4

Fri, 22 Apr 11 1450 Page 5 of 8
Chart Review Print
Metropolitan Hospital Canter

Location Patient Name - Patient Number Visit Number Age Sex
DIS-Hd6 Price, Cathleen 1674607 1674607-4 40¥ F

Attending Physician
Meletiche, Carlos M, MD

PHM/PSHx/ Fam:
Diagnosis
Working Diag:

Resulted by , : Meletiche,Carlos M, MD (ESQF)
Ordering MD : (ESOF)

ED RN Disposition Assessment
tvent Time: Thu, 11 Nov 10 0554 Status: complete

Thu, 11 Nov 10 0558 Documented by Nakita Mccoy, RN

sischarge Disposition: treated & released

Jome Care Discharge +: no |
Diagnosis _.? Assault by other specified means
Vital Signe... . : SBP::.321 mmHg DBP:: 64 mmHg P: 76 bpm R: 17 Pe

97. 8 F (36.6 C) “Temp: Route: aral, 02

> : Saturation: 99 % Coniménts: ROOM AIR

Barriers. CO. Learning : Hene -

De - Plan . : MEDICATION AS PRESCRIBED, FOLLOW-UP IN CLINIC AS |

7 DIRECTED. RETURN TO ER FOR ANY NEW OR WORSENING

. CONCERNS . NAD NOTED. ;

Valuables/Clothing : patient kept at own risk

comtent  . : PY OUT WITH STEADY GAIT. RESP EVEN/UNLABORED. NO

, DISTRESS NOTED. PT VERBALIZED UNDERSTANDING. OF INSTR
‘PROVIDED BY DELLFAVA, MD

Medication Order (s) > Adacel (Tdap 11-64y) (Tetanus Toxoid, Reduced «
Diphtheria Toxoid & Acellular Pertussis Vaccine
Adsarbed}
Medication Effect (s) : no adverse effects for all new medications
Diagnosis

Working Diag: B968.8 Assault by other specified means
 

 

Case 1:15-cv-05871-KPF Document 16-3 Filed see apa 71 S

Fri, 22 Apr 111i 1450 Page 6 of 8
Chart Review Print
Metropolitan Hospital Center

Location Patient Name Patient Number Visit Number Age Sex
21S -Hd6 Price, Cathleen 1674607 1674607-4 40¥ F

Attending Physician
Meletiche,Carlos M, MD

HO Chest Bai:
Diagnosis

Resulted by : Mecoy,Nakita, RN © (ESOF)
Ordering MD : (ESOF)

 
 

 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 27 of 71 :

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Metropolitan Hospital Ceater ‘ lof 4 aout
Departuent of Emergency Medicine Be ygy ¢ )
1901 First Avenuc - 4
New York, NY 10029 ot She hy
212-423-6466 rary eqs,
(el lees STR Gaeta See
’ nd foue f Patient Name.
. ~ farringlon plate
Discharge Instructions for: Aiton -
(condition)

The emetgency exantination and treatarent you received today is not intended to provide you with a complete medical workup, You
should follow-up with a physician for further cvajuation and treatment, IF you have airy questions ar concerns reparding your emergency
department treaiment, please return lo the Binergency Department. Notify your own piiysician for any new or remaining problems. Lf

you are concerted about tose problems, please return to this or any ather Emergency Departinent. Otherwise, follow these instructions
below, :

The cesulls of x-rays, ullrasounds, blood less and EKGs are preliminary at this time. They wilt
wilhia 24 hours, Sfiowld it be necessary, you will be contacted, Notify your primary care physi
your emergency visit.

be reviewed by a specialist, usually
cian if you had such tests done during

Please make sure that you finve notified the physichins and nurses of alt of your past tedicat and surgical history as well a3 any
medications (inctuding over-the-counter ard herbal preparations) that yor are curently taking. :

Return to the Energeney Department, or any other emergency Department, for any current of new problem thar you think inay be 4
serious Utreal to your heallly, These problems vary depending on your underlying condition, but inchide such problems as high fever,
severe pain, shartitess of breath, persistent vomlling, excessive diarrhea, heavy bleeding, black stools, sefzure/convulsion of change in
Dehavior. Ask your nurse or doctor to Inform you of any problems that may be more speelfic ta your visit laday.

_ Contlsue taking any previously preseribed medications,
sure that you have informed us today of al} af your medi
any. other doctor,

in addition to any new ones from today, unless atherwise informed, Please make
cations and allergies to medications! foods, including any recently éhanged by

Medications: Frater WE 2 tas le tery Endep Of ene tate  btar
Egtegp — SOO a4 By teers Figs Sk Mewee aw Be

 

Pléase pick upor ask for any printed educational materials that we may have specific to. your probable condition.

Make an appointment ta .
11 fallow up with your primary care provider within days. Ifyou vont have a

Y primary care provider, you cai call our elinic
* appolittment teviter al 212-423-7000 for an appolumment fe the

clinic, Inform them that you need io be seen within

oo. his numberof days, . —
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Ratient Signature’ Phiane # PA / MD Signature

 
 

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T Signature Date Time

   

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Exhibit Q

 
 

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FAMILY COURT OF THE STATE OF NEW YORK
CITY OF NEW YORK: COUNTY OF NEW YORK

In the Matter of a Family Offens

Proceeding

KELLY CATHLEEN PRICE,

Petitioner, : DOCKET NO,
O-10874/10

-against-

RAHEEM POWELL,

Before:

Appearances:

Also Present:

Respondent.

60 Lafayette Street
New York, N.Y. 10013

‘March 24, 2011 - Part 5

HONORABLE LORI 8. SATTLER, JUDGE

EDWARD GREENBERG |, ESO.
Attorney for the Petitioner

WILLIAM C'HEARN, ESQ.

Attorney for the Respondent

Kelly Price
Raheem Powell

Kitty S. Irizarry
Official Court Reporter

 

 
 

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_ Proceedings

 

COURT OFFICER: Six and fourteen in the matte:

Price and Powell.

 

Counsel, your appearance.

MR. GREENBERG: For the petitioner, Your Hono:
Edward C. Greenberg, 570 Lexington Avenue, New York, New
York.

Good morning.

COURT OFFICER: Raise your right hand. :

(Whereupon, the following parties were sworn i |
by the court officer.)

MS.- PRICE: Kelly Catherine Price. |

MR. POWELE: Raheem Powéll.

THE COURT: Good morning, Your Honor.

You are entitled to have an attorney in this
proceeding. If you don't have an attorney, I can assign ¢

to represent you. You can also decide you would like to ¢

 

forward on our own without an attorney, or if you would

like, you can hire or consult with an attorney that you |

would pick.

| |
Do you want an attorney in this proceeding? |
MR. POWELL: Yes. |

|

THE COURT: What's your source of income at the
present time? Are you working?
MR. POWELL: Yes.

THE COURT: How much are you earning?

 
 

 

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Proceedings a

 

Simmons, but I have a couple of questions, since I was

MR. POWELL: Like $250 a week.

THE COURT: Are you a member of a union?

MR. POWELL: (No response}

(Whereupon, the following party was sworn in [| |

the court officer.)

 

DETECTIVE SIMMONS: Detective Linda Simmons,

shield number 2653 of the 28 Detective Squad.

THE COURT: Sorry to drag you in, Detective

informed that you are here to arrest the petitioner.
DETECTIVE SIMMONS: We are here to pick her up
for another detective that will be arresting her.
THE COURT: Anything related to my case here?

DETECTIVE SIMMONS: It's between the two of th

 

It's between the two of them and how she calis him and
threatens to have him arrested if he doesn't come see her.

(Whereupon, Mr. O'Hearn entered the courtroom.

THE COURT: Mr. O'Hearn is going to be
representing the respondent.

Do you want to note your appearance.

MR. O'HEARN: William O'Hearn, 225 Broadway,

appearing for the respondent.

THE COURT: Okay. So he had a family offense
case at some point in time, but your Order of Protection wu

vacated when you didn't show up on March 9th..

 
 

 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 32 of 71

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Proceedings

 

MR. POWELL: I was on the wrong floor.

THE COURT: Did you file again?

MR. POWELL: No,

THE COURT: So are you picking her up for
violating the order? |

DETECTIVE SIMMONS: She is going to be arreste
for aggravated harassment,

THE COURT: Okay, got you.

MR. GREENBERG: Your Honor, with respect to
Mr.. Powell's claim that he was in the wrong room, I know
Your Honor is very busy and doesn't remember this case, bi
this case —-

THE COURT: No. I actually remember it.

MR. GREENBERG: Good. Then Your Honor wiil
remember that we delayed to call this case for quite some
time because Mr. Powell was mot here, and Your Honor calle
the case at 11:02.

THE COURT: Your client wasn't here either on
that date, as I recall.

MR. GREENBERG: That's correct, and I expressec
concern about the safety of my client. So while the court
officer called the case at about 9:32, Your Honor didn't
hear it until about 11:00. This was a 9:30 case, so I don

know how Mr. Powell couldn't nave found his case within an

hour and a half.

 

 
 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 33 of 71

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Proceedings

THE COURT: His case was dismissed. He paid
consequence of not being here.

I think the bigger issue is your client is ab
to get arrested. And I am hearing that right now, and

perhaps that makes me concerned about whether I actually

 

need to continue an Order of Protection in this case,

because he is not getting arrested, she is getting arrest |
Detectives investigated the stories?
DETECTIVE SIMMONS: Yes.

THE COURT: And don't find her story to be

credible?

DETECTIVE SIMMONS: No.

MR. GREENBERG: We have a couple of competing
issues. Issue number one, and perhaps not the most

important, but I think it should be before Your Honor befc
the case is discussed before you, no request was made of n
office to surrender Ms. Price, notwithstanding the fact tk
I had lengthy conversations with detectives at the 28

Precinct, including Detective Flowers, who is, presumably,

 

going to be the detective arresting Ms. Price today.

I had a conversation with Mr. Flowers for over
five minutes, and at no time did he ask me to bring
Ms. Price in, nor had any request been made to me or to
Ms. Price’ other attorney to bring her in. She would have

been brought in and this exercise, perhaps, would have bee)

 

 
 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 34 of 71

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Proceedings

avoided or at least postponed. That's issue one, Your
Honor.

Number two, there was an Order of Protection
sought against Mr. PoWell, whose acts of violence against
Ms. Price are well documented by hospital reports and s0
forth. The detectives have come in here, and I understanc
their responsibilities, as they see them, but they come ir
here without any adjudication at all based on, solely, the
word of Mr. Powell, whom Your Honor has already awarded
Orders of Protection against, presumably, because Your Hor
was satisfied.

THE COURT: Excuse me.

An ex-parte order of Protection -- Everyone co
in here and does an ex-parte the first time, and I -- This
is the first time I nave the parties in front of me.

MR. GREENBERG: That's true.

Not all ex-partes. Ms. Price had been here
before. .

MR. O'HEARN: The most recent one was ex-parte
because he didn't show up, but that's not the initial one.
There was evidence that satisfied Your Honor to issue an
Order of Protection, apparently, where Mr. Powell was heré

on prior occasions,

MR. GREENBERG: My recollection, Your Honor, i

when I was here three or four weeks ago, Your Honor statet

 

 
 

 

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Proceedings

 

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blackmail from the text messages from Mr. Powell to mysel
letting me know exactly what would happen to me if I ever
did such things like leave him, report the physical ongoi
physical abuse.

THE COURT: Were the nude photos you are allec
on there?

MS. PRICE: No. He never sent them to me.

THE COURT: How, again, did you know there wer
photos of you?

MS. PRICE: People in my neighborhood and
children in my neighborhood taunt me and taunt me with thi
phonés when I walk by.

THE COURT: Did you see what was on the
children's phones?

MS. PRICE: No, I did net.

I am happy to present respectable adults in my
neighborhood, especially the owners of the livery cabs
around the corner from me, whe showed them to me and said
cannot believe this is happening to you and are willing tc

testify.
THE COURT: I am gcing to let them do whatever

they have to do, arrest your Client.
I will give you another date to come back.

I will put in a usual terms Order of Protectioi

and refrain from communication. If he is going to renew h

 

 
 

 

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Proceedings

 

request, Mr. O'Hearn, he needs to do that. This is again:

him.

She actually, quite frankly, based on the

allegations, I am willing to bet that the Criminal Court

will also put in an Order of Protection in place. But you

client can decide if he wants to file here, and I will gis

you a date to come back to court.

to a return date,

MR. GREENBERG: May I make a request with resp

THE

MR.

COURT: Sure.

if it suits the Ccurt?

GREENBERG: I can have any date in the las

two weeks of April, but the first two weeks I can't and I

can't in May.

So any date anytime that the Court wants £1

April 18th to the end of the month is fine with me.

19th.

MR.

THE

MR.

THE

MR.

THE

How

O'HEARN: I am out the last week of April.

COURT: T am not here on the 18th or the

GREENBERG: Any date that week.

COURT: How about the 21st?

O'HREARN: I am out that weekend.

COURT: You are out the 18th.

about May 2nd?

That certainly will give t

Criminal Court matter time for us to know what's going cn

there.

I could bring you in earlier. I could bring y

 

 
 

 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 37 of 71

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Proceedings

 

in on April 13th or 14th, but, otherwise, we are going to

May 2.

MR. O'HEARN: I can appear on May 2nd.

MR. GREENBERG: I will do May 2nd if I have tc

At what time, Your Honor?

THE COURT: Let me pick an available time.

11:00 a.m.
MR. GREENBERG: That's fine. All right.

THE COURT: I will see you all then.

Thank you.

FOE ERR OR IO IO IGRI TOI ROO kd ok dR Ok ok kak &

Court Reporter's Certification

I hereby certify that the foregoing transcript is a true

and accurate record of the stenographic proceedings in the abo

matter.

Wi btiped Ja,
. Ki Leg. “anh, Jo

Official Court Reporter

 
Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 38 of 71

‘Exhibit R

 
 

 

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RWS Oh

CRIMINAL COURT OF THE CITY OF NEW YORK

 

COUNTY OF NEW YORK
Pape | of I
THE PEOPLE OF THE STATE OF NEW YORK | FAMILY OFFENSE
-against- DEFENDANT/VICTIM
RELATIONSHIP:
1, Kelly Price (I 40) ECAB # JNTIMATE/ACCESS
1222673
Defendant, | VISPEMEANOR
ctendant. | ADA MARQUEZ.

212-335-9522

 

 

Detective Samuel Fontanez, shield 00311 of the 028 Detective Squad, states as
follows: ,

On April 30, 2011, at about 0@:0Thours inside of 315 West 116th Street in the
County and State of New York, the Defendant committed the offenses of:

I. PL215.50(3) Criminal Contempt in the Second Degree
. (i count)

the defendant engaged in intentiona) disobedience to the lawful mandate-of a court in
other than 4 labor dispute.

The offenses were committed under the following circumstances:

Deponent states that deponent is informed by Raheem Powell, of an address
known to the District Attomey’s Office, that defendant called informant on the telephone
and stated in substance: ARE YOU RECORDING ME? 1 WANT TO TALK TO YOU
SO WE CAN WORK THINGS OUT. Deponent is further informed that informant has
known defendant for more than two years and informant recognized defendant's voice.

Deponent states (i) that the above actions by defendant are in violation of an order
of protection issued on March 24, 2011 by Judge Amaker , docket number
2011N¥021627 , and which remains in effect until! May 10, 2011, (ii) that the order of
protection directs the defendant to refrain from communication or any other contact by
mail, telephone, e-mail, voicemail or other electronic means with Raheem Powell , and
(iii) that defendant is aware of the order of protection in that defendant was present in
court when the court order was issued and the order of protection is signed by the
defendant.

False statements made herein are punishable as a class A misdemeanor pursuant to
section 210.45 of the penal Jaw.

DA (ry $30 slbly

Deponent . VW \/ Date and Time

ACT 5 Version 4.3.5 Created on 05/06/17 5:10 PM
 

 

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qt

CRIMINAL COURT OF THE CITY OF NEW YORE
COUNTY OF NEW YORI: PART D

 

THE PEOPLE OF THE STATE OF NEW YORIs.

-apainst- SUPPORTING DEPOSITION
CPL. § 100.20

KELLY PRICE,
Docket No. 2011NY032918

Defendant.

 

 

L, Ralieem Powell, of an addtess lawown to the District Attomey's Office, County of New

York County , State of New York, being duly sworn, depose and say:

that T have read the Accusatory Instrument filed in the above-gntitled action and attached
hereto aud that the facts therein stated to be on information furnished by me are true upon iny

~ personal knowledge.

False statements macle berein are punishable as @ class_AA
misdemeanor prrsuant to section 210.45 of the penal dan.

. Signature (Deponent) Date
she calles Me ovound ESP"
OP oh, seid Meth. (Y) ctr JP

_ | | - Ealalort S (A .

 
Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 41 of 71

Exhibit $

 
Case1:15-cv-0587EKPE-Document-1+6-3 -Ejled 05/09/16 Page A? of 71.

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(Exhibit W pas

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- CONTROL/CUFFLOCK?

 

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Was this property taken on a search: O Yes / O No

O Other - Specify:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 
      

 

   

 

 

 

 

 

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“J gnatare of Tnyuate

 

 

HItis not on the list of items: which are permitted i in this facility

0 You have submitted, the item to us voluntarily for safekeeping.
C1 Other Sa

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Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 43 of 71

Exhibit T

 
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Case 1:15-cv-05871-KPF Document 16-3 Filed_05/09/16 Page 44 of.71

Bx || Fig |

DEBRIEFIN G AGREEMENT
With respect to the meeting of Kenya Wells, ai) Assiatant District Attorney in the: Office’
of the District Attorney for New York County ("Office") with Kelly Price ("Client") to be held
on the date of this memorandum, the following understandings exist:

(1) Should any prosecutions | be brought against Client by this Office, this Office will aot
offer as evidence in its case-in-chief atiy statement made: by. Client. at the meeting, except it ina.
. prosecution for false statements or ‘pee jury. .

(2) Notwithstanding paragraph one, (a) this Office may. use information derived diveetly
or indirectly from Chien ents. at the mecting fi the: purpose ¢ of obtaining leads to other
evidence;.and. if.any 1 vel n: apy prosechtion of Client and:

(). should any (pr ete

      
    
 
   
 
 
 
 
 

 
 

oye 1¢ State bats ‘sade ty Client at es meeting held. on. hi
date, and doe. Title oF, ed Suton ie made © by Client at. any ih

- respect to the m ie

DATED: New York, New ‘ork : - — rs OO
Tune 21,2011 0 | - ps

CYRUS R. VANCE, JR
District Attorney .
New York County

 

Assistaff District Attorney

dg CAM.
Chent~ )\

LE fk kha

Attorney for Client

 

 
Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 45 of 71

Exhibit U

 
  

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Indictment #

  
  

People v.

Defendant's Nara (Last, First and MT.)

Price,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

       

 

 

 

 

 

 

   
  

    

  

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CITY OF NEW YORK, Room 2200, Municipal Building, 1 Centre Street, New York, N'Y 10007. The three percent 3% fee will nol be subtracted if the
case is lerminaled al the trial levef with a dismissal or acquittal.

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34 R (4/91)

 

 

 
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Exhibit V

 
 

  
 
  

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Case 1

 
 
 
  

 

 
 

  

 

 

 

 

 
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Exhibit W

 
 

 

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People v Price (Kelly}

 

2016 NY Slip Op 50231(U)

 

Decided on February 25, 2016

 

Appellate Term, First Department

 

Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.

 

 

 

This opinion is uncorrected and will not be published in the printed Official Reports.

 

 

Decided on February 25, 2016

SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT
PRESENT: Schoenfeld, J.P., Shulman, Hunter, Jr., JJ.

571134/12

The People of the State of New York, Respondent, -
against

Kelly Price, Defendant-Appellant.

Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Robert M. Mandelbaum, J.),
rendered October 18, 2012, convicting him, after a nonjury trial, of two counts of disorderly conduct, and imposing sentence.

Per Curiam.

Judgment of conviction (Robert M. Mandelbaum, J.), rendered October 18, 2012, reversed, on the law and the facts, and the
accusatory instrument is dismissed.

The verdict convicting defendant of two counts of disorderly conduct (see Penal Law §§ 240.20[2], [3]), was not based on legally
sufficient evidence and was, in any event, against the weight of the evidence. The trial evidence showed that defendant called police
after she was asked to leave a midtown Manhattan bar on a Saturday evening; the responding officers observed defendant to be visibly
upset and they tried to calm her down; upon interviewing people inside the bar, the officers informed defendant that there was no
action that they could take on her behalf, defendant was angry, but walked away from the scene; and that as defendant was
approximately 20 feet away from the officers, she turned her head and shouted an epithet at them. On these facts, defendant's intent to
cause public inconvenience, annoyance, or alarm, or recklessness in creating such a risk, was not established beyond a reasonable
doubt (see Penal Law § 240.20 People v Baker, 20 NY3d 354 [2013]). Defendant's conduct did not indicate an intent to breach the
peace, or even constitute an act from which a breach of the peace was likely to occur (see People v Johnson, 22 NY3d 1162 [2014];
People v Baker, supra; People v Pritchard, 27 NY2d 246 [1970]; People v Smith, 19 NY2d 212 [1967)).

THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.

] concur I concur J concur

Decision Date: February 25, 2016

 

 
 

 

SUPREME COURT OF THE STATE OF NEW YORK
APPELLATE TERM: FIRST DEPARTMENT

won ene ee eee x
THE PEOPLE OF THE STATE OF NEW YORK,
Respondent,
-against-
KELLY PRICE,
Defendant-Appellant.
a --- wenn enn x

 

STATEMENT PURSUANT TO RULE 5531
1. The docket number in the court below was 201 1INY016509.
2. The full names of the original parties were People of the State of New York

against Kelly Price. There has been no change of parties on appeal.

3. This action was commenced in Crimimal Court, New York County.
4. This action was commenced by the filing of an accusatory instrument.
5. This appeal is from a judgment convicting appellant, after a bench trial, of two

counts of disorderly conduct (P.L. §240.20(2); P-L. §240.20(3)).

6. This is an appeal from a judgment of conviction rendered October 18, 2012
(Mandelbaum, J., at trial and sentencing).

7, Appellant has been granted permission to appeal as a poor person on the original

record. The appendix method is not being used.

 
 

 

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PRELIMINARY STATEMENT

This is an appeal from a judgment of the Criminal Court, New York County, dated
October 18, 2012, convicting appellant, after a bench trial, of two counts of disorderly
conduct (P.L. §240.20(2); P.L. §240.20(3)), and sentencing her to a conditional discharge
and three days community service (Mandelbaum, J.., at trial and sentencing). |

Timely notice of appeal was filed and, on January 7, 2013, this Court granted
appellant leave to appeal as a poor person on the original record and typewritten briefs,
and assigned Seymour James, Jr., successor to Steven Banks, as appellate counsel.

Appellant did not have any codefendants below. She is not incarcerated pursuant

to the judgment above.

QUESTION PRESENTED

Whether the convictions should be reversed and the
accusatory instrument dismissed where the evidence was
insufficient to establish that appellant had the requisite mens
rea to commit disorderly conduct. U.S. Const., Amend. XIV;
N.Y. Const. art. I, §6; P-L. §240.20.

 

' References are to the trial transcript (Part 1), dated October 17, 2012; Those preceded by "T"
are to the combined trial minutes (Part 2) and sentencing minutes, dated October 18, 2012.

The original complaint, which charged appellant with one count of disorderly conduct P.L.
§240.20(3)), was replaced by a Prosecutor's Information charging her with both P.L. §240.20(2)
and P.L. §240.20(3) (2-3).

 
 

 

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STATEMENT OF FACTS

Trial
On September 24, 2011, at about 10 p.m., Police Officer Matthew Winters, a

seven-year veteran of NYPD assigned to Midtown South, and his partner, Police Officer
' Michael Relf, responded to a radio run of an assault in progress at Stitch Bar, 247 W.
37th St. New York County (27-30, 61, 64).7 There, Winters was approached by
appellant, who had called to report the assault and was standing in front of the bar
waiting for the police to arrive. Winters recalled that appellant was upset and had "visible
bruises” on her arms (30, 62-64).°

After briefly speaking to appellant, Winters went inside the bar to hear "the other
side of the story" while appellant remained outside (30, 63-64). When Winters returned a
few minutes later, he told appellant that the police would not be charging anyone and
refused to take her complaint (30-31, 51-54, 64).

While Winters was conversing with appellant, he was standing by the curb next to
several other officers, and leaning on a phone booth with his back to the street. Appellant,
who appeared visibly exhausted, stood directly in front of Winters (31-34). After Winters
told appellant that the police would not assist her, appellant became more upset. The tone
of her voice became higher and her hand gesturing movements became more animated

(33). Winters testified that he tried to calm appellant down -- he told her to "calm down"

 

* September 24, 2011 was a Saturday.

* Counsel told the court that, at the time of trial, CCRB was investigating the police response to
appellant's 911 complaint and the circumstances of her arrest in the instant case (12-14).

 

 
 

 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 56 of 71

and "speak lower." Appellant lowered her voice but, as she | grew more excited, the tone
of her voice became elevated (33-34, 54-55).

Appellant communicated to Winters, who spoke to appellant for about five
minutes, that she was upset about the way the police were handiing her complaint. In
response, Winters told her to contact the Better Business Bureau if "she had a problem
with the establishment” (34-35, 65-67, 70-71). After Winters made the remark, appellant
started walking away from the bar towards Eighth Avenue. When she had walked about
20-25 feet, appellant glanced over her shoulder and yelled to Winters, "go f--- yourself”
in a tone that Winters ranked as 9 on a 1-10 scale with 10 being the highest. Because
appellant's remark was "loud enough for others to hear," Winters immediately grabbed
appellant and placed her under arrest (34-35, 55-58, 65-68, 70-71). Winters did not recall
appellant making any other derogatory statements prior to her arrest (36-37)."

| Throughout the course of their conversation, Winters recalled, appellant's tone
"fluctuated up and down" with her emotions. After he told her that police would not be
charging anyone, appellant became more upset and her tone became higher (66-69).

From the time Winters first responded to the time of appellant's arrest, Winters

estimated that there were about twenty people in the area. "There were a few [people] in

front of the bar, a few to my left, a few to my right, and a few across the street” (35). He

 

* The People introduced a videotape showing the police responding to the scene, and Winters
speaking to appellant, entering the bar, exiting the bar, and again speaking to appellant, who
could be seen waving her arms (51-54, 65; People’s exhibit number 2).

 
 

 

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testified that "[p]eople were walking through us as we were speaking with the defendant"
and that some people stopped on the sidewalk (37).°

When Police Officer Michael Reif, Winters' partner, first observed appellant, she
was animated and "on the verge of crying" (T. 16-19, 26-27). As appellant described the
incident, Relf recalled, the tone of appellant's voice fluctuated considerably — she spoke
calmly one minute, and was yelling the next (T. 16-19, 26-27). After Relf and his partner
spoke to the bar manager and two patrons, they decided not to arrest anyone for assault
(T. 20-21, 28).

Although appellant was initially calm when Winters told her that the police would
not be making an arrest, she became upset after Winters refused to take her statement.
Appellant, who felt as if she had been wronged, Relf testified, then purportedly became
"animated and aggressive" and she told Winters that NYPD was "worthless" and "she is
the victim" (T. 20, 28-30). ° After appellant yelled "go f--- yourself" as she was walking
away from the scene in a tone Relf described as a 9,’ Winters arrested appellant for using
"obscene language easily within hearing of the general public" (T. 22-25, 30-31).

Relf described the area as mostly commercial. Although there were about ten

people in the general area and appellant's comments caused some pedestrians to glance

 

° The court stated that it would only consider the "go f--- yourself" statement because the other
statements contained in the complaint were apparently made after appellant was arrested and
would be precluded (38).

® When asked to describe the tone of appellant’s voice at the time she made the comments, Relf
testified her tone was a 7 or 8 on a scale of | to 10 with 10 being the highest (T. 28).

7 Ona scale of | to 10 with 10 being the highest tone (T. 30-31).

 

 

 
 

 

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over, appellant did not try to engage any of them and none of them got involved (T. 20-
21, 24-31).

When Midtown South Police Officer Dianne Melidones responded to Stitch Bar,
Winters was on the sidewalk in front of the bar talking to appellant, who appeared
"apitated" and was waving her hands around, and Melidones remained with appellant
when Winters went iriside the bar (72-75; T. 3-5). When Winters returned and informed
appellant that the police would not help her, appellant's tone became elevated. After
Winters told appellant to contact the Better Business Bureau about her complaint,
appellant started walking away from the scene. As she was walking away, appellant was
purportedly "screaming and carrying on" and, after she told the police "go f--- yourself,"
Winters proceeded to arrest her (77-79; T. 2, 9-12).

During the encounter, Melidones testified, a few pedestrians glanced over as they
passed by but continued walking and did not have any audible reaction, and a "crowd of
five people gathered across the street" (75-79; T. 9, 13-15). Appellant made no attempt to

engage any of the bystanders or pedestrians (T. 9-11).

The Defense Motion to Dismiss

After the People rested, counsel moved for a trial order of dismissal. The defense
maintained that the People failed to make out a prima facie case since the evidence was
insufficient to support the inference that appellant acted intentionally or recklessly to
create a public safety risk. Citing, inter alia, People v. Munafo, 50 N.Y.2d 326 (1980),

counsel noted that the dispute was a private matter solely between appellant and the

 

 
 

 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 59 of 71

police -- specifically officer Winters -- regarding her assault complaint. Although a few
pedestrians glanced in appellant's direction as they walked by, they did not get involved
and there was no indication that appellant sought to incite or involve the public or that the
public was inconvenienced, annoyed, or alarmed. Thus, counsel continued, the
circumstances did not support the inference that appellant intentionally or recklessly
created a risk that the private dispute between her and the police would extend its
boundaries and become a public issue (T. 33-37, 40-48).

In response, the prosecutor contended that yelling "go f--- yourself” in a loud tone
-- even just once — is sufficient to establish "unreasonable noise" under subsection (2) of
P.L. §240.20 (T. 49-50). Citing People v. Weaver, 16 N.Y.3d 123 (2011), the prosecutor
further argued that appellant's use of "profanities one time” was sufficient to satisfy P.L.
§240.20(3), and that the noise and obscene Janguage recklessly "created a risk to the
public” (T. 49-53).

The court denied the defense motion (T. 57).

The Closing Arguments

Counsel maintained ‘that the People failed to prove beyond a reasonable doubt that
appellant had the requisite mens rea or actus rea to commit disorderly conduct. Appellant
sought out the police after she was assaulted and when they refused to take her complaint,
she became justifiably upset with Winters. At no point, however, did appellant attempt to

involve or incite others and, although a few curious pedestrians turned to look, they

 

 
 

 

Case 1:15-cv-05871-KPF Document 16-3 Filed 05/09/16 Page 60 of 71

continued walling, and there. was no evidence it caused them to become inconvenienced,
annoyed, or alarmed or created a risk to public safety (T. 58-61, 66-68).

Counsel further noted that appellant made the derogatory remark to Winters
because she was nervous and upset with Winters, and not to intentionally incite others
and, moreover, the disorderly conduct statute was not intended to criminalize the conduct
here — a single derogatory remark made during a private dispute with a police officer.
Counsel also pointed out that the encounter occurred in midtown Manhattan, where the
public is constantly barraged with sirens and other loud noises, which is relevant in
assessing whether the noise was "unreasonable" (T. 59-68).

In response, the People contended that appellant intended to cause public
inconvenience, annoyance, or alarm because she was “already agitated and worked up
and then became even more agitated when they told her they would not arrest the person
but when they told her she should go to the Better Business Bureau she got even more
upset because she wasn't having her own way and she continued yelling and cursing and
then walked away from the place. At the moment she said 'go f--- yourself [in a loud
tone] we know that her intention was to cause public inconvenience, annoyance, or alarm
[because] she did not state to the police officers ‘go fuck yourself ' when she was standing
right in front of them within 2 to 3 feet" (T. 71-75). According to the prosecutor, because
appellant was aware that members of the public were in the area, by making unreasonable
noise and yelling obscenities and gesturing, she recklessly created a risk to others (T. 77-

82).

 
 

 

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Sentencing

Appellant was convicted of both P.L. §240.20(2) and P.L. §240.20(3) (T. 82).
Before sentencing, appellant apologized for her actions and explained to the court that
she was a victim of domestic violence and suffered from post dramatic stress syndrome,
and that the guilty verdict was punishment enough (T. 83-85). The court sentenced
appellant to a conditional discharge and three days community service, and imposed a

$120 mandatory surcharge (T. 85-86).

ARGUMENT
POINT
THE CONVICTIONS SHOULD BE REVERSED AND
ACCUSATORY INSTRUMENT DISMISSED WHERE
THE EVIDENCE WAS INSUFFICIENT TO ESTABLISH
THAT APPELLANT HAD THE REQUISITE MENS REA
TO COMMIT DISORDERLY CONDUCT. U.S. CONST.,
AMEND. XIV; N.Y. CONST. ART. I, §6; PL. §240.20.

Shortly before 10:00 p.m. on the Saturday night in question, appellant called 911
to report that she was being assaulted in Stitch Bar in midtown Manhattan. When officer
Winters and his partner responded to the scene, they were approached by appellant, who
was standing in front of the bar waiting for the police to arrive. Appellant, Winters
recalled, was distraught and had visible bruising on her arms. As appellant described the
incident to Winters, the tone of appellant's voice fluctuated with her emotional state;

When she was calm, appellant spoke in a low tone and when she was agitated or upset,

appellant's tone became elevated. After briefly speaking to a couple of people about the

 

 
 

 

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allegations outside of appellant's presence, Winters informed appellant that the police
would not take any further action and refused to take her assault complaint. When
Winters suggested that appellant contact the Better Business Bureau about her complaint,
appellant became upset and started to walk away. After she had walked about 25 feet,
appellant glanced over her shoulder and, as she continued walking, yelled to Winters, "go
f--- yourself." Winters immediately arrested appellant for disorderly conduct. As
discussed below, because evidence that appellant had the requisite mens rea to commit
disorderly conduct was lacking, the convictions must be reversed and the accusatory
instrument dismissed.

It is a fundamental principle that a criminal conviction cannot stand absent
sufficient proof beyond a reasonable doubt on every element of the offense. See Jackson
v. Virgina, 443 U.S. 307, 316 (1979). A conviction is legally insufficient where, viewing
the record in the light most favorable to the prosecution, there is no “valid line of
reasoning and permissible inferences from which a rational jury could have found the
elements of the crime proved beyond a reasonable doubt.” People v. Maldonado, 24
N.Y.3d 48 (2014)(quoting People v. Danielson, 9 N.Y .3d 342, 349 (2007)); see People v.
Khan, 18 N.Y.3d 535, 541 (2012); People v. Williams, 84 N.Y.2d 925, 926 (1994):

Peaple v. Contes, 60 N.Y .2d 620, 621 (1983). *

 

8 Counsel preserved the legal insufficiency argument by moving for a trial order of dismissal
based on the lack of evidence of “public harm," a requisite element of P.L. §240.20. See People
v. Hawkins, 11 N.Y .3d 484 (2008); People v. Gray, 86 N.Y.2d 10 (1995).

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Moreover, even if all the elements are supported by some credible evidence, the
Court still must examine the evidence further and “determine whether an acquittal would
not have been unreasonable." People v. Bailey, 94 A.D.3d 904, 905 (2d Dept. 2012). If,
based on the credible evidence, a different finding would not have been unreasonable,
then the appellate court must "weigh the relative probative force of conflicting testimony
and the relative strength of conflicting inferences that may be drawn from the testimony."
People v. Bleakley, 69 N.Y.2d 490, 495 (1987)(citation omitted); see People v.
Danielson, 9 N.Y .3d 342; People v. McFadden, 106 A.D.3d 1020 (2d Dept. 2013)(noting
there is no preservation requirement for appellate weight-of-the-evidence review).

In reviewing a weight of the evidence claim, an appellate court exercises its power
to "affirmatively review the record; independently assess all of the proof; substitute its
own credibility determinations for those made by the jury[,] determine whether the
verdict was factually correct; and acquit a defendant if the court is not convinced that the
jury was justified in finding that guilt was proven beyond a reasonable doubt." People v.
Delamota, 18 N.Y.3d 107, 117 (2011); see Danielson, 9 N.Y.3d at 348; Bleakley, 60

N.Y.2d 490.

Appellant lacked the mens rea to commit disorderly conduct

Appellant was convicted of two counts of disorderly conduct, P.L. §240,20(2) and
P.L. §240.20(3). Under Penal Law §240.20(2), "{a] person is guilty of disorderly conduct
when, with intent to cause public inconvenience, annoyance or alarm, or recklessly

creating a risk thereof . . . [h]e makes unreasonable noise." Under Penal Law §240.20(3),

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"[a] person is guilty of disorderly conduct when, with intent to cause public
inconvenience, annoyance or alarm, or recklessly creating a risk thereof . . . [i]n a public
place, he uses abusive or obscene language, or makes an obscene gesture."”

That the "defendant's disruptive statements and behavior [are] of a public rather
than an individual dimension . . . stems from the mens rea component, which requires
proof of an intent to threaten public safety, peace or order (or the reckless creation of
such a risk)." People v. Baker, 20 N.Y.3d 354, 360 (2013). The Court of Appeals in
People v. Baker noted that, because of its "important narrowing function,” without which
the disorderly conduct statute would be vulnerable to constitutional attack, the "public
harm" element "cannot be overstated." People v. Baker, 20 N.Y.3d 354, 360. Thus, "a
person may be guilty of disorderly conduct only when the situation extends beyond the
exchange between the individual disputants to a point where it becomes a potential or
immediate public problem” /d. at 359-360; see People v. Bakolas, 59 N.Y.2d 51, 54
(1983\(public harm element vital to the constitutionality of P.L. §240.20 because it

“narrows the definition [of prohibited conduct}, so that no inadvertent... act may be

punished”).

 

7a person acts intentionally with respect to a result or to conduct described by a statute
defining an offense when his conscious objective is to cause such result or to engage in such
conduct.” P.L. §15.05(1).

"A person acts recklessly with respect to a result or to a circumstance described by a statute
defining an offense when he is aware of and consciously disregards a substantial and
unjustifiable risk that such result will occur or that such circumstance exists. The risk must be of
such nature and degree that disregard thereof constitutes a gross deviation from the standard of
conduct that a reasonable person would observe in the situation. A person who creates such a
risk but is unaware thereof solely by reason of voluntary intoxication also acts recklessly with
respect thereto.” P.L. §15.05(3).

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To determine whether the record supports an inference that the defendant had the
requisite mens rea, courts conduct "a contextual analysis that turns on consideration of
many factors, including ‘the time and place of the episode under scrutiny; the nature and
character of the conduct; the number of other people in the vicinity; whether they are
drawn to the disturbance and, if so, the nature and number of those attracted; and any
other relevant circumstances." Baker, at 360 (quoting People v. Weaver, 16 N.Y.3d 123,
128 (2011) Although the risk of public disorder does not have to be realized, "the
circumstances must be such that defendant's intent to create such a threat (or reckless
disregard thereof) can be readily inferred." People v. Baker, supra (citing People v
Todaro, 26 N.Y.2d 325, 329 (1970)).

In Baker, the Court of Appeals revisited several of its seminal decisions analyzing
the "public harm" element of the disorderly conduct statute, and the decision provides a
helpful contextual framework for assessing whether a particular situation "extend[s]
beyond the exchange between the individual disputants to a point where it becomes a
potential or immediate public problem." People v. Baker, 20 N.Y.3d at 359-360 (citing
People v Weaver, 16 N.Y .3d at 128 (internal quotation marks and citation omitted)).

The defendant in Baker approached a police car that was parked on a residential
block in Rochester and asked the officer inside why he had checked the license plate of a
car that was parked in his girlfriend's driveway across the street. The officer replied that
"he could run a plate if he wanted to," and the defendant, who started backing away from
the officer towards the middle of the street, swore at the officer in a loud tone. When the

officer asked "what did you say,” the defendant repeated the profanity and accused the

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officer of harassing him. The officer then arrested the defendant for disorderly conduct.
Baker, at 357.

Although the defendant swore at the officer in a loud tone and his conduct
attracted the attention of about ten bystanders, who had gathered on the sidewalk to
watch the interaction, the Court, reversing the defendant's plea conviction, held there was
"no record basis for the finding of probable cause" to arrest the defendant for P.L.
§240.20(3) because the proof was "insufficient to support the public harm element." Jd. at
362-363.

Conducting a multi-factored contextual analysis, the Baker Court noted that the
defendant's “public outburst" -- which consisted of making two loud derogatory
statements claiming harassment -- was "extremely brief." Jd And, because the incident
"occurred around dinner time on a heavily-populated city street bustling with car traffic
and pedestrian activity," the Court observed, "there was no significant likelihood that
defendant's brief statements loud [as} they were would disrupt peace and order in the
vicinity." People v. Baker, at 363.

The Court further noted that, although a group of bystanders had gathered around
the defendant and his girlfriend, there was "no evidence that the bystanders expressed any
inclination, verbally or otherwise, to involve themselves in the dispute between defendant
and [the officer]" and "no basis to infer that these spectators were motivated by anything
other than curiosity." Baker, at 363. In addition, the Court pointed out that the derogatory
statements were "not accompanied by menacing conduct” and, in fact, the "defendant was

stepping away from the vehicle when he made them." Nor was there any basis to infer

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that the officer felt threatened by the statements, and the presence of another officer at the
_ scene who was "fully able to provide assistance diluted the risk that others in the vicinity
would join forces with [the] defendant and gang up on [the officer]." fd.

"Another factor worthy of consideration," the Baker Court continued, was that the
~ abusive statements were directed at a police officer.

[B]oth at its inception and conclusion, the verbal exchange
was between a single civilian and a police officer. The fact
that defendant's abusive statements were directed exclusively
at a police officer a party trained to diffuse situations
involving angry or emotionally distraught persons further
undermines any inference that there was a threat of public
harm, particularly since the police officer was in a position of
safety and could have closed his windows and ignored
defendant. .. . [I]solated statements using coarse language to
criticize the actions of a police officer, unaccompanied by
provocative acts or other aggravating circumstances, will
rarely afford a sufficient basis to infer the presence of the
"nublic harm" mens rea necessary to support a disorderly

conduct charge.

People v. Baker, 20 N.Y .3d at 363 (emphasis added).

As discussed below, the underlying facts in the instant case are strikingly similar

 

to those in Baker. While in Baker, the facts did not provide a record basis to support a
finding of probable cause, in the instant case there was an insufficient factual basis to |
support the conviction. The encounter here was merely a "purely personal clash” and
"momentary . . . flare-up [and did not] attain the degree of gravity warranting criminal
prosecution under the statute." Baker, at 361 (citing People v. Pritchard, 27 N.Y .2d 246,

249 (1970)).

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Nature and character of the conduct

As in Baker, appellant's outburst was extremely brief. Dissatisfied with the way
officer Winters responded to her complaint, appellant expressed her dissatisfaction by
making a loud derogatory remark to officer Winters as she was walking away from the
scene. Winters reacted by immediately arresting appellant for disorderly conduct.

The disorderly conduct statute was not intended to proscribe each and every minor
annoyance. Again, the scope of the statute “is limited to that type of conduct which
involves a genuine intent or tendency to provoke a breach of the peace." People v.
Pritchard, 27 N.Y.2d at 248 (quotations omitted). Thus, standing alone, appellant's
statement was insufficient to satisfy the "public harm” element of P.L. §240.20. See
People v. Baker, supra, at 362-363; People v. Pritchard, supra, at 249 (reversing
disorderly conduct conviction based on defendant's fight in dance club, which resulted in
crowd gathering); People v. Perry, 265 N.Y. 362, 365 (1934)(notwithstanding the fight
occurred in public venue and a crowd had gathered to watch, evidence legally insufficient
to establish disorderly conduct); see also People v. Carter, 13 A.D.2d 652 (st Dept.
1961)(defendant may not be convicted of disorderly conduct where there is a reasonable
doubt whether the conduct was intentional or whether it resulted from a momentary and

unanticipated lack of physical control).

Time and Place
As in Baker, the incident here occurred "on a heavily-populated city street bustling

with car traffic and pedestrian activity." Specifically, the encounter occurred shortly

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before 10:00 p.m. on a Saturday night in noisy midtown Manhattan, a few blocks from
Madison Square Garden, where sport fans regularly congregate outside and yell and curse
and complain about their team's latest loss. Thus, as in Baker, given the makeup of the
area, "there was no significant likelihood that defendant's brief statements loud [as] they
were would disrupt peace and order in the vicinity.” Baker, 20 N.Y.3d at 363.
Private exchange

The Baker Court reiterated that "isolated statements using coarse language to
criticize the actions of a police officer, unaccompanied by provocative acts or other
aggravating circumstances, will rarely afford a sufficient basis to infer the presence of the
‘public harm' mens rea necessary to support a disorderly conduct charge." Jd. 10

As in Baker, appellant's remark was directed exclusively at a police officer, "a
party trained to diffuse situations involving angry or emotionally distraught persons.”

Baker, 20 N.Y.3d at 363. |

 

0 See also People vy. Fassinger,42 Misc. 3d 407 (Crim. Ct. N.Y. Co. 2013)(dismissing
accusatory instrument charging P.L. §240.20(2) and P.L. §240.20(3) based on defendant, who
was walking in middle of street, yelling to officer, including saying “arrest me,” and making
several obscene gestures including giving two middle fingers and grabbing her crotch in that the
conduct "create[d] the risk for public alarm as cars were stopped behind patrol in view of the
defendant's behavior." Court noted that officer "could have just as easily ignored Defendant's
crude gestures” and "isolated statements using course language to criticize the actions of a police
officer, unaccompanied by provocative acts or other aggravating circumstances, will rarely
afford a sufficient basis to infer the presence of the public harm mens rea necessary to support a
disorderly conduct charge.").

'' In City of Houston v. Hill, 482 U.S. 451 (1987), the defendant was arrested after "shout[ing]
abuses," which violated a city ordinance that prohibited “intentionally interrupt[ing] a city
policeman ... by verbal challenge during an investigation,” and accosting police officers who
were in the process of issuing a ticket to his friend. fa at 454 & n.2. The law had been
interpreted as encompassing those who “verbal[y] abuse” and “curs[e]” at a police officer while
in the Hine of duty. Je. at 457.

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Absence of other aggravating circumstances

Nor do the other circumstances of the encounter support the inference that
appellant intentionally or recklessly caused public harm or created the risk thereof. As in
Baker, appellant uttered the statement as she was walking away from the scene, from a
distance of 25 feet. The fact that appellant had started to physically distance herself from
the encounter is inconsistent with the finding that she possessed the requisite mens rea or

that her statement created a public safety risk or was otherwise threatening to the police.”

 

Vacating Hill's conviction, the Supreme Court found that the ordinance was unconstitutionally
overbroad because “the First Amendment protects a significant amount of verbal criticism and
challenge directed at police officers.” Hill, 482 U.S. at 461-463. Even speech that is “provocative
and challenging” is “protected against censorship or punishment,” the Court explained, “unless
shown likely to produce a clear and present danger of a serious substantive evil that rises far
above public inconvenience, annoyance, or unrest.” Jd, at 461, Unless a defendant's verbal
challenge to law enforcement officers rises to the level of “fighting words that ‘by their very
utterance inflict injury or tend to incite an immediate breach of the peace,’” his activity is
constitutionally protected. Ffil/, 482 U.S. at 461-462 (quoting Lewis v. City of New Orleans, 415
U.S. 130, 133 (1974)(invalidating ordinance that made it a crime “for any person wantonly to
curse or revile or to use obscene or opprobrious language toward . . . police’). As the Hif/ Court
noted, ‘“[t}he freedom of individuals verbally to oppose or challenge police action without
thereby risking arrest is one of the principal characteristics by which we distinguish a free nation
from a police state.” Jd. at 462-463.

Similarly, in Provost v. City of Newburgh, 262 F.3d 146 (2d Cir. 2001), the Court sustamed the
fury finding that police lacked probable cause to arrest Provost under P.L. §240.20(3)(using
abusive or obscene language in a public place}, despite evidence that Provost, who became angry
after a lengthy wait at a police station, repeatedly “scream[ed], sw[ore], [and] holler[ed]” at
officers in the presence of others. /d. at 151-152. The Court ruled that Provost's “language could
not be the basis for a valid arrest because .. . it was constitutionally protected,” 262 F.3d at E59,
and “[o]nly fighting words directed at police officers can be criminalized” because "a properly
trained officer may reasonably be expected to exercise a higher degree of restraint than the
average citizen.” fd. at 159-160 (quotations and citations omitted).

" The prosecutor's argument on summation that appellant's intent to create a public disturbance
could be inferred from the fact that she made the statement to the police from afar instead of
face-to-face is ridiculous and should be rejected. There were four officers at the scene, none of
whom seemed the least bit sensitive to appellant's complaint, and appellant, who was evidently

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Nor was there any evidence that Winters felt threatened by appellant at an earlier
point, before she started to walk away. During Winters five-minute conversation with
appellant, the officer was leaning against a phone booth in a relaxed pose and three
fellow officers were within arm's reach.

Regardless of whether the remark was directed at Winters specifically or all four
officers, here, as in Baker and as in People v. Munafo, 50 N.Y.2d 326 (1980), "4 which
also involved a private dispute between the defendant and police, there was no indication

that appellant sought to expand the boundaries of the encounter by inciting or involving

 

alone, had reason to question their professionalism and judgment. That appellant uttered the
statement from a distance supports the inference that, although she wanted to voice her
dissatisfaction with how Winters handled her complaint, she felt less vulnerable expressing
herself from afar.

'3 Although appellant had earlier used animated hand gestures while communicating to officer
Winters, there is no evidence that the gestures were intended to be menacing or threatening.
Studies of gesture at the University of Chicago concluded that speech and gesture are two
aspects of a single linguistic system and the evidence suggests that the greater the cognitive
effort required for speech, the more we gesture. Essentially, hand-waving, some of which is
reflexive, seems to decrease our "cognitive load" or the amount of mental effort needed to
retrieve information. http://online.wsj.com/news/articles/SB | 068698762 1722900. Although Relf
claimed that appeliant was acting "aggressively," Relf was apparently referrmg to appellant's
hand gesturing and there is no evidence to suggest that Relf (or any of the other officers) actually
felt threatened. -In any event, regardless of how the police perceived the earlier hand gesturing, at
the time of appellant's arrest, she was walking away from the scene and clearly posed no threat.

'? Defense counsel relied on Munafo in support of the defense motion to dismiss based on
insufficient evidence of public harm. In Munefo, the defendant fired a shot in the air at a State
Power Authority construction crew that was attempting to erect a transmission line on a right-of-
way that went through his farm. About ten people witnessed the incident but they had not been
drawn there by defendant's conduct and did not get involved. The evidence in Munafo did not
support the disorderly conduct conviction not only because the mecident occurred on the
defendant's private property in a remote area, but also because there was no indication that the
defendant sought to incite or involve the witnesses, who were already in the area, and the "only
fair inference was that the differences between the authority and the defendant were confined to
these two disputants rather than spread to the public." People v. Munafo, 50 N.Y.2d at 332.

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